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                       Inv stment Policy St t                ent

                                       for

                               Aaron & Barbara F

                                    2/27/2018
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                                                      Prepared by: Tt'avis Van Dernelen


                                             • Portfolio Monagertinvenient Manager
                                                                   First Western Trust
                                                           201 N, Mill Street, Suite 202
                                                                      Aspen, CO 81611




                                                                                     Ex. 7
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         Investment Policy Statement                                                -      -

         QVERVIEW
          the purpose of this investment Policy Statement (IPS) is to put forth a plan, developed
         Jointly bv First Western and you, for the management of your investment assets. First
         Western will use this IPS in managing, monitoring and evaluating your investment assets.
         This IPS reflects the information you have provided about your present and future
         financial circumstances and your attitude, expectations, and objectives in the Investment
         of your assets. It is proVded to document the long-term adherence to an agreed upon
         investment program that will Include various asset classes, styles, and acceptab e ranges.
         In total, it is designed with the goal of producing a sufficient level of overall diversification
         and total investment return over the iorg-term while controlling the overai risk of the
         portfolio. It is important that you and First Western review the provisions of this IPS cn a
         regular basis because your personal circumstances may change over time.

         EXECUTIYEAMMAIM

          Type &Account: • -                                                                   $8,000,000 Revocable trust
          All future accounts or coMributions will be hwested aa part vf tht
          global asset allocation detailed in Section IV
          un.er speCically documented otherwise.

          Total Investment Assets:                                                             Se,00ia,000

          Investmert Time Horizon:                                                             10+ yoars
          Long-Term Inflation Assumption:                                                      3%


          Federal Tax Rate:                                                                    39.6%
          State Tax Rate:                                                                      5%
                                                                                               20%/23.8%. .
          LT Capital Gains Rate:

          Portfolio Contributions:                                                             None currently anticipated.
          Cash Flow Objeutive:                                                                 $500,000 per year
                                                                                               Nene currently anticipated.
          Miniinum Liquidity Requirement

          Risk Tolerance:                                                                      Stable growth and low wvel of -
          5ee Section ill fur ;lore deboll on risk toleranoe and capacity                      Income; steady growth is
                                                                                               expected
          LT Strategic Portfolio Allocation                                                    IvIoderate


          Expected LT Return Target                                                            6.441%




         ' Chat{ With an MIabove 5250,000 tangReath' Of S200.000 taloa as Individuals vAll be subiott to tee 1.11% Wawa surbet in
         &Anion to the lontterm molt& phis late. Sce SactIon tit lor a broader retvrn &minion.
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         Investmcaplicv Statement_
         1.     OBJECTIVES

         Listed below are the main objectives of the investment program. These objectives have
         been developed With you considering a number of factors including your financial
         resources, financ:aI goals, current assets, asset allocation, personal risk capacity, end time
         horzort.

                    '970evelap an investrnent strategy based on your needs and objectives

                    W Maintain diversification of investment assets

                    WSeek to achieve financial goals
                       --- . potential tax liabilities
               : ..17
                   - • Minlmize
                         .   .


                    'WMenitor and revise the portfolio, perodically as required

         11.       TIME HORIZON

         Your lnvestment portfolio is based on an investment time horizon of 10 + years. As a
         result, interim short-term investment iluctuaticns should be viewed wtth appropriate
         perspecrive. The strategic asset allocation has been developed as a long-term strategy
         for the management of your investment assets.

         IH        RiArroteBANCE

         Your ability to tolerate the Uncertainties, complexitieS, and volatility inherent in the
         finandal markets has been considered in the development of your IPS. The two main
         factors considered are your personal and economic risk capacity.

         Your stated personal risk capacity Is Moderate. You seek relatively stable growth in value
         of the investable assets supplemented by a low level of income. You have a higher
         tolerance for risk and/or d tonger time than a conservative objective. The main objective
         is to prrwide steady growth while limiting fluctuations to less than those of the overall
         stock market.

         Yovr economic risk capacity is determined by the following factors which suggest your
         ability to accept Investment risk and meet your long-term financial goals: (1) Your time
         horizon; (2) Your present financial condAion; (31 Your future financial goals; (4) Your
         discretionary income and its variability; (5) Your portfolio contributions and liquidity
         requirements (6) Your employment of uther risk mitigation strategies, along witt several          .   .



         other factors, A review of these factors Indicates an economic risk capacity that Is
         consistent with your stated personal risk capacity of Moderate/Average,

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         Investment Policy Statement

         IV.      TARGET ASSET ALLOCATION

         Your target strategic asset allocation has been constructed based upon your current
         financial resources, anticipeted additions to your investment portfolio, if any, financial
         goals and objectives, time horizon, and risk tolerance. The portfolio balances risk and
         reward and attempts to achieve the stated objectives of the investment program.
         Implementation is further hifluenced by your income tax status as well as any restrictions
         vou direct to be pieced on your portfolio, lf any, such as holding a soecific security that
         mav have been transfe-reci to FWT or purchased at your request. See Portfolio
         Restrictions below.

         Alternatives and Real Assets. Alternative investments and real assets may be used to
         enhance your portfolio's risk adjusted returns. Alternatives include but are not be lirnited
         to Absolute Return*, Private Equity, and other opportunistic investments. Real Assets
         may also be included such as REITs, Commodities, and MVPs. On occasion, when
         fundamentals and valuations are compelling, First Western's Investment Policy
         Comm ittee may approve additional Alternative or Real Asset investments for inclusion on
         first Western's Investment piatform. These additional investments may be included in
         your portfolio if it Is determined they have the potential to improve your portfolio's risk
         adjusted retums. Additionally, it Is understood that these lnvestments would only be
         used if they did not fundamentally alter the rkk profile of your portfolio as described in
         Section III.             .

          Alternative investments are typically structured as limited partnerships or limited liability
          companies which are not traded on a public exchange. Due to the lack of a public market,
          these securities may be illiquid for a substantial period of time after initial investment and
          may require advance notice of redemption. Common features of limited partnerships
          may include 3.) extended lock-up periods which, In the case of a typical private equity
        - investment, can be as long as 10 years, 2) Incentive fees, and 3) a K-1tax form. Note that
          K-1s may not be availabie until as late as the month of May, necessitating an investor to
          file for a tax filing extension. Always refer to an investment's specific offering documents
          for full details. Such Investments wlll generally not comprse in excess of 10% of your
          portfolio.

         Portfolio Restrictions. You acknowledge that any restrictions that you rnay place on
         securities that must be held or may not oe held In your account and/or any restrictions
         on the buying or seiling of securities rnay affect the performance of the Account and may
         create variations from a similarly maraged account with no restrictions. You also
         acknowledge that these variations couid result in positive or negative performance
         differences for the account as compared to the performance composite of your
         investment program.

         You have the fogowing portfolio restrictions:

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          V.       ASSET CLASS HQLDING RAkqu.

      . • Your strategic asset allocation was devetoped subject to certain holding limitations.
          Holding ranges have been developed to p,ace limitations on the minimum and maximum
        - percentage investment In each asset class yet, at the same time, to allow for tactical
          weighting shifts in your stratcgic asset allocation.

          Holding Limits and Ranges: Moderate
                        •


          Asset Class . _ -                                     Mln %   Target%        Max%                     •       •

          US Large Cap Equities                                  0%       13%          28%                                                          •

          US Mid Cap Equities                                    0%       4%           14%
                                                                                                                                                        •

          US Small Cap Equities                                  0%       6%           16%
          international Equlties                                 2%       12%          22%          •
                                                                                                            •               •
                                                                                                                                    -
          Emerging Markers                                       0%       3%           13%
                                                                                                                                •

          High Yield Bonds                                       0%       4%           14%              •



          Fixed income                                           39%      49%          59%
                                                                                                •

                                                                                                                                        •
                                                                                                                                            •
                                                                                                                                                •



          Alternatives                                           0%       8%      •
                                                                                       18%              •

                                                                                                                    •

          Cash arid Equivalents                     .            0%       1% -         20%
                                                            •

                                       •


          VI.      REBALANCING                 •

                                                        •

                                           .   •.



          The percentage weighting attach asset class within the investment portfolo will vary
          within the strategic ranges outlined in Section V based on a variety of factors including
          First Western's view of the market environment. Rebalancing is generally performed due
          to significant market fluctuations or the addition or deletion of portfolio assets. The
          percentage weighting within each asset class may vary occasionally due to market
          conditions without the occurrence of rebalancing. When rebalancing is required,
          dividends and interest and net cash inflows will be used to meet the strategic asset
          allocation targets. If cash flow is not sufficient to meet the target allocation for an asset
          class, we will decide whether to effect transactions In order to rebalance the asset
          allocation. The timing of rebalancing may be Influenced by tax and liquidity Issues as well
          as other factors.

          VII.     EXPECTED RETURN RANGK

          The potential rate of return on your portfolio over various time periods is shown below.
          The returns are based on the historic, )ong-term total return for each asset class. and then
          adjusted to incorporate First Western's capital market assumptions by taking into account
          various 'actors including the economic environment and valuations. Actual performance
          will vary from these assumed rates and there is no guara 'tee that this return objective
          will be achieved either in any single year or over longer time periods. The portfolio retum
          will also be reduced by the deduction of advisory and money management fees and taxes.

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          95th eercentile         20.4        13.9         12.1        10.2          9.0
          Expected Valtie          5.6         5.9          5.9         6.0          5.9
          5th Percentile          -5.7        -1.2          0.3         2.0          3.2

         Mathematically calculated returns In the above table are based on historic asset class
         returns combined with First Western's capital rnarket assumptions. The table gives a
         normel range of expected portfolio returns over various time periods. The "potential
         return" number is an apprcximate midpoint of the wider range of expected returns for a
         given time period. Because of the volatiley of market returns, a portfolio's actual return
         may vary quite significantly from that single point number. Over longer periods of time
         the volatility of a portfolio declines and the range of expected returns narrows.

         Based on historical returns and First Western's 10-year capltal market assumptions the
         nominal, 10-year expected annual return of your portfolio, net of fees but before anv
         applicable taxes, is approximately 6.48%. Your actual experience may vary widely from
         thls single-point potential return as indicated by the 10-year range in the above table.

         Vllt.      REVIEW AND REPORTING

         On a no less than quarterly basis, you will receive a custodial statement detailing your
         portfolio holdings. Perfoinance :s calculated cjuarterly on both an absolute and relative
         basis as compared to appropriate benchmark indices. First Western will review your
         investment program with you periodically to determine the continued feasibility of
         achieving your investment objeceives and tne appropriateness of this IP5 for achieving
         those objectives.

         IX.        SELECTION CRITERIA

         Securities and/or investment sub-advisors used to Implement the investment portfolio
         and the pertod taken to fully invest the portfolio to reach the target allocation, shall be
         subject to selection criteria and discretion of First Western Trust. The securities and
         investment sub-advisors will be monitored for adherence to your IPS,

         XI.        PERIODIC UPDATE

         It is riot expected that this investment Policy Statement will change frequently. In
         particular, short-term changes in the financial markets should not require adjustments to
         this IPS. This IPS, however, should be updated upon a material change in your financial
         situation.




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